Case 1:19-cv-01211-ACR Document 1-2 Filed 04/25/19 Page 1 of 2

Sed (Rey, 7/16 OC)

CIVIL COVER SHEET

L. (a) PLAINTIFFS

VICTOR BOURNE #77410-053

DEFENDANTS

DEPARTMENT OF JUSTICE et al

PRO SE

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
(EXCEPT IN U.S, PLAINTIFF CASES)

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)

USP LEE
P.O. BOX 305

JONESVILLE, VA 24263

Il. BASIS OF JURISDICTION
(PLACE AN x IN ONE BOX ONLY)

@) (US Government
Plainteff

O 2 US. Government
Detendant

oO 3 Federal Question
(US Government Not a Party)

© 4 Diversity
(Indicate Citizenship of
Parties in item IIT)

Citizen of this State

Citizen of Another State

Citizen or Subject ofa
Foretgn Country

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT
(IN U.S. PLAINTIFF CASES ONLY)

Case: 1:19-cv-01211

Assigned To : Jackson, Ketanji Brown
Assign. Date : 4/25/2019

Description: FOIA/Privacy Act (|- EG

IL, CITIZENSHIP OF PRINCIPAL ran tims (rain anu ve eee
PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!

PTF DFT

oO: O1
©2 ©
03 O03

Incorporated or Principal Place
of Business in This State

Incorporated and Principal Place © 5
ot Business in Another State

Foreign Nation

PTF DFT

O41 O14
O05

Os O86

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

© A. Antitrust

[-]410 Antitrust

© B. Personal Injury/
Malpractice

[_] 310 Airplane
(J 315 Airplane Product Liability
[_] 320 Assault, Libel & Slander

© C. Administrative Agency

Review

Cc] (51 Medicare Act

[J 330 Federal Employers Liability

CJ 340 Marine

[_] 345 Marine Product Liability

[1] 350 Motor Vehicle

[J 355 Motor Vehicle Product Liability

__] 360 Other Personal Injury

CJ] 362 Medical Malpractice

(_] 365 Product Liability

[) 367 Health Care/Pharmaceutical
Personal [njury Product Liability

[__] 368 Asbestus Product Liability

Other

Social Security

T1861 HA (139stn

[_] 862 Black Lung (923)

[_] 863 DIWC/DIWW (405(g))
[__] 864 SSID Title XVI

(_] 865 RSI (405(g))

Statutes

891 Agricultural Acts
[1893 Environmental Matters
[_] 890 Other Statutory Actions (Uf

Administrative Agency is
Involved)

D. Temporary Restrainin
porary g
Order/Preliminary
Injunction

Any nature of suit from any category
may be selected fur this category of
case assignment.

*(If Antitrust, then A governs)*

© E. General Civil (Other)

OR O F. Pro Se General Civil

Keal Property
[-]210 Land Condemnation

[] 220 Foreclosure

(_] 230 Rent, Lease & Ejectment
[)240 Torts to Land

(1) 245 Tort Product Liability
[_]290 All Other Real Property

Personal Property
(J370 Other Fraud

(1371 Truth in Lending

[] 380 Other Personal Property
Damage

[__] 385 Property Damage
Product Liability

Bankruptey
[1422 Appeal 27 USC 158

(1) 423 Withdrawal 28 USC 157

Prisoner Petitions
[_]535 Death Penalty
[_]sa0 Mandamus & Other
CX] 550 Civil Rights
[1555 Prison Conditions
560 Civil Detainee — Conditions
of Continement

Property Rights
$20 Copyrights
[1830 Patent

LJ 840 Trademark

Federal Tax Suits

[__]870 Taxes (US plaintiff or
defendant)
(-_]871 IRS-Third Party 26 USC 7609

Forfeiture/Penalty
[_]625 Drug Related Seizure of
Property 21 USC 881

[690 Other

Other Statutes

[_]375 False Claims Act

[_]376 Qui Tam (31 USC
3729(a))

[__]400 State Reapportionment

CL ]430 Banks & Banking

[_]450 Commerce/ICC
Rates/etc.

[__]460 Deportation

[]462 Naturalization
Application

(_]465 Other lmmigration
Actions

[_]} 470 Racketeer [nfluenced
& Corrupt Organization

[] 480 Consumer Credit

(-] 490 Cable/Satellite TV

[] 850 Securities/Commodities/
Exchange

[] 896 Arbitration

[__] 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

[__] 950 Constitutionality of State
Statutes

[_}890 Other Statutory Actions
(if not administrative agency
review or Privacy Act)

_—©-
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© G. Habeas Corpus/ © H. Employment © 1. FOIA/Privacy Act © J. Student Loan
2255 Discrimination
[_] 530 Habeas Corpus — General (_] 442 Civil Rights - Employment (_] 895 Freedom of Information Act | [__] 152 Recovery of Defaulted
[1] 510 Motion/Vacate Sentence (criteria: race, gender/sex, {__] 890 Other Statutory Actions Student Loan
[J 463 Habeas Corpus — Alien national origin, (if Privacy Act) (excluding veterans)
Detainee discrimination, disability, age,

religion, retaliation)

*(If pro se, select this deck)* “(LF pro se, select this deck)*
© Kk. Labor/ERISA © L. Other Civil Rights © M. Contract ON. Three-Judge
(non-employment) (non-employment) Court
CI 110 Insurance
C] 710 Fair Labor Standards Act C] 441 Voting (if not Voting Rights C] 120 Marine LC] 44) Civil Rights — Voting
[—] 720 Labor/Mgmt. Relations Act) (J 130 Miter Act (if Voting Rights Act)
[__] 740 Labor Railway Act [__] 443 Housing/Accommodations 140 Negotiable Instrument
(__] 751 Family and Medical [] 440 Other Civil Rights [1] 150 Recovery of Overpayment
Leave Act [_] 445 Americans w/Disabilities — & Enforcement of

[_] 790 Other Labor Litigation Employment Judgment

791 Empl. Ret. Inc. Security Act (J 446 Americans w/Disabilities — C1153 Recovery of Overpayment

Other

of Veteran’s Benefits

[] 448 Education [] 160 Stockholder’s Suits

[J 190 Other Contracts

[] 195 Contract Product Liability
196 Franchise

CI

V. ORIGIN
01 Original © 2Removed © 3 Remanded © 4Reinstated © 5 Transferred © 6 Multi-districe O7 Appeal to © 8 Multi-district
Proceeding from State from Appellate or Reopened from another Litigation District Judge Litigation ~
Court Court district (specify) from Mag. Direct File
Judge

VI. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
5 USC 552

VII, REQUESTED IN [| CHECK IF THIS IS A CLASS DEMAND $ Check_YES only if demanded in complaint
COMPLAINT ACTION UNDER F.R,C P, 23 JURY DEMAND: YES | NO
VIT. RELATED CASE(S) (See instruction) YES [| NO Cx | If yes, please complete related case form
IF ANY
DATE: 04/25/2019 SIGNATURE OF ATTORNEY OF RECORD NCD

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and services of pleadings or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the
Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed
Listed below are tips for completing the civil cover sheet. These tips coincide with the Roman Numerals on the cover sheet

I. COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States

I. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
under Section {1

IV, CASE ASSIGNMENT AND NATURE OF SUIT: The assignment of a judge to your case will depend on the category you select that best

represents the primary cause of action found in your complaint. You may select only one category You must also select one corresponding
nature of suit found under the category of the case

Vi CAUSE OF ACTION: Cite the U.S. Civil Statute under which you are filing and write a brief statement of the primary cause

VIL RELATED CASE(S), IF ANY: If you indicated that there is a related case, you must complete a related case form, which may be obtained from
the Clerk’s Office

Because of the need for accurate and complete information, you should ensure the accuracy of the information provided prior to signing the form.

